                      2:17-cr-20037-JES-JEH # 317        Page 1 of 2
                                                                                               E-FILED
                                                                    Friday, 26 April, 2019 02:17:30 PM
                                                                         Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

      NOTICE OF WITHDRAWAL OF INTENT TO PRESENT EXPERT EVIDENCE
       RELATING TO MENTAL CONDITION ON THE ISSUE OF PUNISHMENT
                PURSUANT TO FED. R. CRIM. P. 12.2(B)(2) (R. 161)

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, hereby provides Notice of the Withdrawal of Docket Number 161, the Intent

to Present Expert Evidence Relating to Mental Condition on the Issue of Punishment

Pursuant to Fed. R. Crim. P. 12.1(b)(2). Mr. Christensen first filed his Notice of Intent to

Present Expert Mental Health Evidence on December 3, 2018. (R. 161) On April 25, 2019,

Mr. Christensen decided to formally withdraw said Notice. Defense counsel notified

government counsel of the withdrawal of his 12.2(b) notice as soon as possible and

explained that Mr. Christensen will not be speaking to the government’s mental health

experts next week.




                                              1
                     2:17-cr-20037-JES-JEH # 317         Page 2 of 2




             Respectfully submitted,

             /s/Elisabeth R. Pollock                    /s/ George Taseff
             Assistant Federal Defender                 Assistant Federal Defender
             300 West Main Street                       401 Main Street, Suite 1500
             Urbana, IL 61801                           Peoria, IL 61602
             Phone: 217-373-0666                        Phone: 309-671-7891
             FAX: 217-373-0667                          Fax: 309-671-7898
             Email: Elisabeth_Pollock@fd.org            Email: George_Taseff@fd.org

             /s/ Robert Tucker                          /s/ Julie Brain
             Robert L. Tucker, Esq.                     Julie Brain, Esq.
             7114 Washington Ave                        916 South 2nd Street
             St. Louis, MO 63130                        Philadelphia, PA 19147
             Phone: 703-527-1622                        Phone: 267-639-0417
             Email: roberttuckerlaw@gmail.com           Email: juliebrain1@yahoo.com




                              CERTIFICATE OF SERVICE

      I hereby certify that on April 26, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                          /s/Elisabeth R. Pollock
                                          Assistant Federal Public Defender
                                          300 West Main Street
                                          Urbana, IL 61801
                                          Phone: 217-373-0666
                                          FAX: 217-373-0667
                                          Email: Elisabeth_Pollock@fd.org




                                             2
